
PER CURIAM.
This'cause having heretofore been sub-, mitted to the Court on petition for writ of certiorari upon the transcript of record and briefs and argument of counsel for the respective parties, to review the order of the Florida Industrial Commission in said cause, bearing date March 19, 1965, and the petitioner having failed to show that the essential requirements of law have been violated, it is ordered that said petition be and the same is hereby denied.
It is further ordered that the respondent’s petition for allowance of attorneys’ fees be and the same is hereby granted and a fee of $350.00 is hereby allowed.
THORNAL, C. J., and THOMAS, DREW, ERVIN and HOBSON (Ret), JJ., concur.
